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 2
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 5

 6
                                  UNITED STATES DISTRICT COURT
 7

 8
                                  EASTERN DISTRICT OF CALIFORNIA

 9

10

11   UNITED STATES OF AMERICA,                        Case No.: 2:15-cr-00131 TLN

12
                     Plaintiff,
13
     vs.                                              STIPULATION REGARDING
14

     MICHAEL WILLIAM MCGIBBON,                        CONTINUANCE OF SENTENCING;
15

16                                                    ORDER
                     Defendant
17

18

19

20                                           STIPULATION

21          Plaintiff United States of America, by and through its counsel of record, and defendant,
22
     by and through defendant’s counsel of record, hereby stipulate as follows:
23
            1. By previous order, this matter was set for sentencing on March 22, 2018.
24

25          2. By this stipulation, the parties now move to continue sentencing until May 24, 2018, at
26   9:30 a.m.
27

28
     STIPULATION REGARDING CONTINUANCE OF SENTENCING; ORDER - 1
              Case 2:15-cr-00131-TLN Document 350 Filed 03/19/18 Page 2 of 2


 1          3. The parties agree and stipulate that this continuance will provide both parties
 2
     additional time to prepare for sentencing by, inter alia, researching issues pertinent to making a
 3
     recommendation to the Court for a proposed sentence.
 4
            Probation has been notified and is in agreement of these new times and dates.
 5

 6

 7   IT IS SO STIPULATED.                            PHILLIP A. TALBERT
                                                     United States Attorney
 8
     Dated: March 15, 2018
 9
                                                          /s/ Samuel Wong
10                                                   SAMUEL WONG
                                                     Assistant United States Attorney
11

12                                                   ______/s/____________
                                                     DWIGHT M SAMUEL
13                                                   Attorney for Michael Mc Gibbon
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16
                                                  ORDER
17
     IT IS SO ORDERED this 19th day of March, 2018.
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22                                                Troy L. Nunley
                                                  United States District Judge
23

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     STIPULATION REGARDING CONTINUANCE OF SENTENCING; ORDER - 2
